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   Attorneys for Plaintiff
11 Robert Hunter Biden
12                        UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA
14                                WESTERN DIVISION
15 ROBERT HUNTER BIDEN, an                     Case No. 2:23-cv-07593-HDV-KS
   individual,
16                                             Assigned to:
               Plaintiff,                      District Judge Hernán D. Vera
17
          vs.                                  PLAINTIFF ROBERT HUNTER
18                                             BIDEN’S REPLY IN SUPPORT OF
   GARRETT ZIEGLER, an individual,             HIS EX PARTE APPLICATION
19                                             FOR AN ORDER TO
   ICU, LLC, a Wyoming Limited                 VOLUNTARILY DISMISS ACTION
20 Liability Company d/b/a Marco Polo,         PURSUANT TO FED. RULE CIV.
   and DOES 1 through 10, inclusive,           PROC. 41(a)(2)
21
22             Defendants.                     Place: Ctrm. 5B
                                               Judge: Honorable Hernán D. Vera
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     5804329.1
         PLAINTIFF’S REPLY IN SUPPORT OF EX PARTE APPLICATION TO VOLUNTARILY DISMISS
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 1               Piercing beyond the childish antics and unprofessional attacks on opposing
 2 counsel, Defendants Garrett Ziegler and ICU, LLC’s (aba Marco Polo) (collectively
 3 “Defendants”) untimely opposition1 makes several egregious misstatements to which
 4 Plaintiff Robert Hunter Biden (“Plaintiff”) felt compelled to respond.
 5               First, Defendants misinterpret the basis for the relief Plaintiff Robert Hunter
 6 Biden (“Plaintiff”) as a sign that Plaintiff’s claims lack merit. The merit of this action
 7 is demonstrated by, among other things, Defendants’ own public admissions that they
 8 “got into [Plaintiff’s] iPhone backup” and “cracked the encrypted code….” 2
 9               Second, in support of their argument that dismissal should be conditioned on
10 the payment of attorney’s fees, Defendants quote Westlands Water District v. U.S.,
11 100 F.3d 94, 97 (9th Cir. 1996), out of context. The full portion provides:
12               The defendants' interests can be protected by conditioning the dismissal
                 without prejudice upon the payment of appropriate costs and attorney
13
                 fees. [internal citations omitted] Imposition of costs and fees as a
14               condition for dismissing without prejudice is not mandatory
                 however. [internal citation omitted].
15
16               Here, if the district court decides it should condition dismissal on the
                 payment of costs and attorney fees, the defendants should only be
17
                 awarded attorney fees for work which cannot be used in any future
18               litigation of these claims. [internal citations omitted].
19               …
                 The district court also may wish to delete any award of costs and fees
20
     Defendants filed their opposition more than 30 minutes after the deadline of 24 hours
     1
21 after Plaintiff filed the ex parte as required by Judge Vera’s Civil Standing Order
22 (Dkt. No. 13), therefore it is untimely and should be disregarded for that reason alone.
   (See Dkt. Nos. 85 and 88.)
23
24 Plaintiff’s discovery requests to Defendants, including Requests for Admissions
   2

   served on February 25, 2025, seek information precisely about this material,
25 specifically information obtained from “Plaintiff’s iPhone backup file.” Defendants
26 cannot now hide behind their dubious claim that Mr. Biden has not been seeking to
   obtain information about that iPhone backup file. To the contrary, Defendants have
27 been obstructing discovery of such information by asserting overbroad and legally
28 unsupported objections.
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 1         attributable to the defendants' summary judgment motions, if the court
           concludes those costs and fees might have been avoided if the
 2
           defendants had waited to file their summary judgment motions and
 3         responded initially to the Districts' motion for voluntary dismissal. In
           the words of the D.C. Circuit, “[b]ecause the summary judgment motion
 4
           was filed after the motion for voluntary dismissal, [defendants] clearly
 5         took a large risk that [their] work would be disregarded entirely in the
           first round of litigation.” [internal citations omitted].
 6
 7 Id., 97-98 (emphasis added). Here, Defendants have not identified any work product
 8 that would not be usable in any subsequent litigation. Further, Defendants claimed
 9 fees for the summary judgment motion were unnecessarily incurred because they
10 served their portion of the summary judgment motion after they were informed in
11 writing of Plaintiffs’ intent to seek dismissal.
12         Third, Defendants falsely state that they diligently engaged in discovery. After
13 losing their motion to dismiss, Defendants did not propound any discovery until
14 January 31, 2025—five weeks ago.
15         Fourth, the costs incurred in regard to the deposition of Kevin Morris, Esq.,
16 were entirely the fault of Defendants. They chose to proceed with that deposition
17 (with Mr. Ziegler voluntarily incurring travel costs to attend that deposition) despite
18 being informed several times in writing and orally multiple days beforehand that Mr.
19 Morris would not appear for his unilaterally noticed deposition and timely objected
20 to it on the grounds of attorney-client privilege because he was Plaintiff’s attorney.
21         Fourth, Defendants’ inability to seek prevailing party fees under Cal. Penal
22 Code § 502 does not constitute legal prejudice. They still have the right to seek fees
23 if they are deemed the prevailing party in a subsequent litigation.
24         Finally, the exigency of Plaintiff’s request is based on the non-expert fact
25 discovery cutoff of April 1, 2024, thereby requiring extensive discovery to occur in
26 the next few weeks. If this request was filed as a noticed motion, Plaintiff and
27 Defendants would also incur the substantial fees of briefing Defendants’ summary
28 judgment motion during that time, which would be obviated if the case is dismissed.
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 1 Defendants’ reliance on Mission Power Engineering Co. v. Continental Cas. Co., 883
 2 F. Supp. 488 (C.D. Cal. 1995) is misplaced. In that case, the plaintiff inadvertently
 3 sent privileged documents to Defendants and then filed an ex parte application to
 4 shorten the time to hear a motion to compel the return of those privileged materials.
 5 Id. The court rejected the request to shorten time because the plaintiff therein had
 6 created the crisis in the first place. Id. Here, Plaintiff filed the ex parte application
 7 due to the financial impact of delay on him and Defendants.
 8               Nothing in Defendants’ emotionally charged opposition provides any valid
 9 basis to deny Plaintiffs’ good faith ex parte application. Plaintiff is not the only
10 person dealing with the harsh reality of being a victim of the catastrophic Palisades
11 Fire, and Defendants’ attempts to downplay the impact of that catastrophe and
12 accusations that Plaintiffs’ counsel is lying about the basis for his motion is despicable
13 and should not be countenanced by the Court.
14               Accordingly, Plaintiff respectfully requests that the Court grant the requested
15 relief without prejudice.
16
17 Dated: March 7, 2025                                 EARLY SULLIVAN WRIGHT
                                                        GIZER & MCRAE LLP
18
19
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 1                                  CERTIFICATE OF SERVICE
 2               I, Robie Ann Atienza-Jones, hereby certify that on this 7th day of March, 2025,
 3 a copy of the foregoing PLAINTIFF ROBERT HUNTER BIDEN’S REPLY IN
 4 SUPPORT OF HIS EX PARTE APPLICATION FOR AN ORDER TO
 5 VOLUNTARILY DISMISS ACTION PURSUANT TO FED. RULE CIV.
 6 PROC. 41(a)(2) was served via email, on the following:
 7 Jennifer Linsley Holliday       Robert H. Tyler
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11 Attorney for Defendants                              Attorney for Defendants
   Garrett Ziegler and ICU, LLC                         Garrett Ziegler and ICU, LLC
12
13
14
15                                                  /s/ Robie Ann Atienza-Jones
                                                    ROBIE ANN ATIENZA-JONES
16                                                  An employee of EARLY SULLIVAN
                                                    WRIGHT GIZER & MCRAE LLP
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         PLAINTIFFS’ REPLY IN SUPPORT OF EX PARTE APPLICATION TO VOLUNTARILY DISMISS
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